                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                            CIVIL ACTION NO: 5:05CR9

UNITED STATES OF AMERICA,                    )
          Plaintiff                          )
                                             )
vs.                                          )
                                             )                     ORDER
ODERIA JABAL CHIPLEY,                        )

               Defendant.                    )
                                             )
___________________________________ )


        THIS MATTER IS BEFORE THE COURT upon the Defendant’s handwritten letter

(Document No. 446) dated February 6, 2006, in which he requests a hearing to discuss his counsel’s

performance. The undersigned held an inquiry into status of counsel hearing on February 17, 2006,

during which the defendant’s concerns were resolved. For reasons stated in that proceeding, this

motion is therefore DENIED as moot. Mr. Richard Brown, Jr. will continue to serve as counsel to

Mr. Chipley.




                                                 Signed: February 27, 2006




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